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Hamza Mohammed Jama SID#23052443
Deer Ridge Correctional Institution
3 920 East Ashwood Rd,
Madras, Oregon 97741



                           . IN THE UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF OREGON
                                   PORTLAND DIVISION

                                                  )
HAMZA MOHAMMED JAMA                               )
                                                             . 'IC ase N o. "2·'2.3r(.\f ... 5S'l. Mt.
                                    Plaintiff,    )        C 1v1           -~-- - - - - - -
                                                  )         (to be assigned by Clerk's Office)
               v.                                 )
                                                  )
FIRST NAME UNKNOWN (FNU) BALL,                    )           CIVIL RIGHTS COMPLAINT
Chaplain, CHRISTOPHER RANDALL,                    )
Superintendent, HEIDI STEWARD,                    )           (Claims for deprivation of civil
Oregon Department of Corrections, Acting          )           rights under 42 U.S.C. § 1983;
Director, DARYL BORELLO, Administrator            )           for violation ofRLUIPA,
Religious Service, STUART YOUNG, Assistant, )                 42 U.S.C. § 2000cc-2)
Administrator Religious Service, F.N.U. Peel, Food)
Servi~e Manager, F.N.U. YBARRA, Grievance         )
Coordinator, F.N.U. Vasquez, Correctional         )           (Jury Trial Demanded)
Officer; JOHN DOE, Correctional Officer, JOHN )
DOE, Correctional Officer, F.N.U. BATTLE,         )
ODOC Provider, F.N.U. JONES, Lieutenant,          )
F.N.U. Aeshliman, Kitchen Coordinator,            )
F.N.U Ackley, Acting Superintendent:              )
                                    Defendants, )
_________________                                 )



                                     INTRODUCTION

       Plaintiff, Hamza Mohammed Jama, appearing prose, is an AIC in the custody of the Oregon

Department of Correction ("ODOC"), Plaintiff is currently housed at Deer Ridge Correctional

Institution (DRCI), is bringing this suit pursuant to 42 U.S.C. § 1983, against the herein named

defendants in their official and individual capacities due to defendant(s) personal involvement in

depriving plaintiff of his federal constitutional rights under the First Amendment (Free Exercise

Clause, Establishment Clause, and retaliation), the Fourteenth Amendment (equal protection), and




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the Eighth Amendment (cruel and unusual punishment). Plaintiff further alleges that defendants

violated his rights under the Religious Land Use and Institutionalized Persons Act (RLUIPA). The

proffered beliefs are sincerely held and plaintiff claim are rooted in plaintiffs strong religious

beliefs. Defendant's infringements are not reasonably related to a legitimate penological interest.

Plaintiff is seeking damages and injunctive relief, as described below.

                                        JURISDICTION

        This court has jurisdiction under the federal question statutes, 28 U.S.C §§ 1343 & 1343.

This court has supplemental jurisdiction over the plaintiffs state law Tort claims under 28 U.S.C §

1367.

                                            PARTIES

   1. Plaintiff, Hamza Mohammed Jama, is currently in custody at Deer Ridge Correctional

        Institution 3920 East Ashwood Road, Madras, Oregon, 97741.

   2. Defendant, "First Name Unknown" (FNU) K. Ball, was employed as a Chaplain at DRCI dur-

        ing the event in this complaint. Defendant duties are, A chaplain is defined as a "person em-

        ployed by ODOC to facilitate and provide religious programming and services to inmates in

        DOC facilities. Defendant is sued in his individual and official capacity.

   3. Defendant, Christopher Randall, was employed as Superintendent at DRCI during the event in

        this complaint. Defendant duty are under Functional Unit Manager: Any person within the

        Department of Correction who reports to the Director, an Assistant Director or an

        Administrator and has responsibility for the delivery of program services or coordination of

        program operations. In a correctional facility, the functional unit manager is the

        superintendent. Defendant is sued in his individual and official capacity.

   4. Defendant, Heidi Steward, is employed as the Acting Director of Oregon department of

        corrections at 3723 Fairview Ind Drive SE 200, Salem, Oregon 97302. Defendant is sued in

        his individual and official capacity.



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  5. Defendant, Daryl Borello, was employed as Administrator Religious Service at ODOC,

       Religious Service OSCI Residence 3, 3405 Deer Park Dr. SE Salem, OR 97310 during the

       event in this complaint. Defendant duty are under Administrator of Religious Services:

       The Department of Corrections manager assigned responsibility for administering religious

       programming and services for the Department of Corrections. Defendant is sued in his

       individual and official capacity.

  6. Defendant, Stuart Young, was employed as Assistant Administrator Religious Service at

       ODOC, Religious Service OSCI Residence 3, 3405 Deer Park Dr. SE Salem, OR 97310

       during the event in this complaint. Defendant duty are under Assistant Administrator of

       Religious Services: The Department of Corrections Administrator of Religious Services

       assignees responsibility for the Assistant Administrator of Religious Service to provide

       programming, religious services, and who also manages the department Chaplains for the

       Department of Corrections. Defendant is sued in his individual and official capacity.

  7.   Defendant, "First Name Unknown" (FNU) Peel, was employed as Food Service Manager

       during the event in this complaint. Duty under OAR 291-061-0005 thru 0310 to provide safe

       food, prevent cross-contamination and ensure sanitary environment. Defendant is sued in his

       individual and official capacity.

  8. Defendant, "First Name Unknown" (FNU) J. Ybarra, was employed as Grievance

       Coordinator/ Discrimination Coordinator during the event in this complaint. Defendant duty is

       Grievance Complaint Coordinator: An employee who is assigned by the functional unit

       manager to review and investigate incidents of perceived grievance. In a DOC facility, the

       grievance complaint coordinator may also be the Discrimination Coordinator. Defendant is

       sued in his individual and official capacity.

  9. Defendant, "First Name Unknown" (FNU) S. Vasquez, was employed as Correctional Officer

       at DRCI during the event in this complaint. Defendant duty are under Functional Unit Person:



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     Any employee, contractor, approved carded volunteer, or other agency liaison assigned to

     work or provide services at a functional unit facility, also known as Correctional Officer.

     Defendant is sued in his individual and official capacity.

  1O. Defendant, "First Name Unknown" (FNU) John Doe, was employed as Correctional Officers

     at DRCI during the event in this complaint. Defendant duty are under Functional Unit Person:

     Any employee, contractor, approved carded volunteer, or other agency liaison assigned to

     work or provide services at a functional unit facility, also known as Correctional Officer.

     Defendant is sued in his individual and official capacity.

  11. Defendant, "First Name Unknown" (FNU) John Doe, was employed as Correctional Officers

     at DRCI during the event in this complaint. Defendant duty are under Functional Unit Person:

     Any employee, contractor, approved carded volunteer, or other agency liaison assigned to

     work or provide services at a functional unit facility, also known as Correctional Officer.

     Defendant is sued in his individual and official capacity.

  12. Defendant, "First Name Unknown" (FNU) Battle, was employed as ODOC Medical Provider

     at DRCI during the event in this complaint. Defendant is sued in his individual and official

     capacity.

  13. Defendant, "First Name Unknown" (FNU) L. Jones, was employed as Lieutenant at DRCI

     during the event in this complaint. Defendant duty are under Functional Unit Person: Any

     employee, contractor, approved carded volunteer, or other agency liaison assigned to work or

     provide services at a functional unit facility, also known as Correctional Officer. Defendant is

     sued in his individual and official capacity.

  14. Defendant, "First Name Unknown" (FNU) Aeshliman, was employed as Kitchen Coordinator

     at DRCI during the event in this complaint. Defendant is sued in his individual and official

     capacity.




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  15. Defendant, "First Name Unknown" (FNU) Ackley, was employed as Acting Superintendent at

     DRCI during the event in this complaint. Defendant duty are under Functional Unit Manager:

     Any person within the Department of Correction who reports to the Director, an Assistant

     Director or an Administrator and has responsibility for the delivery of program services or

     coordination of program operations. In a correctional facility, the functional unit manager is

     the superintendent. Defendant is sued in his individual and official capacity.

  16. All defendants acted, and continue to act, under color of state law at all times relevant to this

     complaint.

                                            FACTS

                  Plaintiffs Religious Background and Dietary Requirements

  17. Plaintiff was born in Ethiopia into an observant Sunni Muslim community, and as such has

     faithfully observed and practiced his faith for his entire life. The daily practice of faith is

     manifest in the reading, study, and recitation of the Qur' an, in praying toward the direction of

     Mecca five (5) times a day, in observation of ritual cleanliness of the person, and in following

     the Shar'ia requirements to eat only that which is Halal. These requirements are found

     throughout the Qur'an, two of which are contained in the following verses from chapters five

     and six.

Islamic Law prescribed by the Qur'an -Translation of the Qur'an (Qur'an, Chapter/ and Verses)

  18. Chapter five (5)- al- Ma'idah, Verses 3-4

      3. "Forbidden to you (For Food) are: dead animals, blood, the flesh of swine, and that on which

      has been invoked the name of the other than Allah (swt); that which has been killed by

      strangling, or by a violent blow, or by a headlong fall, or by being gored to death; that which

      has been (partly) eaten by a wild animals, unless you are able to slaughter it (in due form); that

      which is sacrificed on stone (altars); forbidden also is the division (of meat) by raffling with

      arrows; that is impiety. This day have those who reject faith given up all hope of your religion:



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      yet fear them not but fear me. The day have I perfected your religion for you, completed my

      favor upon you, and have chosen for you Islam as your religion. But if any is forced by hunger,

      with no inclination of transgression, Allah (swt) is indeed oft forgiving most merciful."

      4. "They ask them what is lawful to them (as food). Say: lawful unto you are (all) things good

      and pure: and what you have taught the beasts and birds of prey, training them to hunt in the

      manner directed to you by Allah (swt): Eat what they catch for you, but pronounce the name

      of Allah (swt) over it: and fear Allah (swt); for Allah (swt) is swift in taking account."

       1. Chapter six (6) - al-An 'am, Verse 121- "And do not eat that upon which the name of Allah

      has not been mentioned, for indeed, it is grave disobedience. And indeed, do that devils inspire

      their allies [among men] to dispute with you. And if you were to obey them indeed, you would

      be associators [of other with him].

  19. Dietary Requirements

      1. Islamic Shar'ia law as stated in the Qur'an dictates that only meat that is Halal should be

         eaten.

      2. Islamic Shar'ia law as stated in the Qur'an dictates the manner in which meat is to be

         slaughtered and prepared in a ritual fashion, such that in accordance with said Shar'ia law

         to be considered Halal.

      3. In accordance with the Islamic Shar'ia laws stated in the Qur'an and the Hadith for a animal

         to be considered Halal the following condition must be adhered to:

         1. The animal must face the Qiblah, when being slaughtered.

         2. The person who slaughtered the animal must be a Muslim.

         3. The name of Allah must be spoken at the time of the slaughter.

         4. The animal must be slaughter by cutting the animal's throat with a sharp iron instrument

             so that the jugular artery and vein, esophagus, and trachea are all cut at the same time.




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      4. Islamic Shar'ia law as stated in the Qur'an requires Muslims to abstain from eating or

          having contact with pork, and/or pork by-product, and/or eating any food items that have

          came into contact with pork or pork by-Products.

      5. Islamic Shar'ia law as stated in the Qur'an dictates that Muslims only use utensils which

          have never been used in the cooking, serving, and consuming pork or pork by-products.

      6. Islamic Shar'ia law as stated in the Qur'an requires Muslims to abstain from food items

          that contain and/or are contaminated with pork and pork by-products; such a gelatin,

          seasoning, and meat-based fats. However, it is extremely difficult for plaintiff to avoid

          these prohibited food items and cross-contamination through self-selection because the

          department of corrections issues menus which occasionally identifies those entree items

          that are made of pork, but fails to identify food prepared from pork derivatives such as

          certain gelatins, seasonings, and meat-based fats.

                                    BACKGROUND FACTS

  20. In April of2021 plaintiff had a conversation with the DRCI Chaplain, Mr. Ball, in his office,

     where plaintiff requested to be provided Halal meals in accordance with the plaintiff's Islamic

     practices and beliefs. Mr. Ball responded, "We don't give Halal." Plaintiff asked "what about a

     Kosher meal?" Mr. Ball asked, "Are you a Jew?" plaintiff responded that he was not a Jew, for

     the plaintiff is a Muslim of Eastern African Descent. Chaplain Ball responded, "then you can't

     have it (Kosher)". (EXHIBIT 1, DISCRIMINATION FORM#DRCM_2021_08_053, PG.3,

     DATED 8/30/2021). The nature of this exchange is indicative of discrimination and bias, as

     bias is implied in the question of whether or not plaintiff is a Jew. This is especially the case in

     light of the fact that ODOC provides kosher meals to not only observant Jew, but also

     provides kosher meals to adherents of Christian identity, as well as, other Sabbath observant

     Christian faiths. Kosher meals are provided to Messianic Jews, whom many Jew do not feel

     are properly "Jewish". At least one example of an observant Muslim who has received kosher



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     meals is Rashid Kambarov. In light of this, asking plaintiff if he is Jewish as a litmus test to

     qualify for kosher meals shows a bias in favor of Jews, and Chaplain Ball's ill disposition

     toward all other practitioners of other faiths who currently meet the standards for receiving

     kosher meals, but are not recognized traditionally as Jewish. Furthermore, the question of the

     plaintiff being a Jew or not as_ a false litmus test was meant to discourage and burden the

     plaintiff in the practice of his religion by faithfully adhering to its tenets.

  21. On May 8, 2021 the plaintiff submitted by hand to Chaplain Ball a department of corrections

     "Religious Accommodation Request". The nature of the request was the same one expressed

     verbally to Chaplain Ball a few weeks prior in April. The request was for Halal meals to be

     provided as per Oregon Administrator Rule#291-143-0112, (1) "The department will satisfy

     the special religious dietary needs of inmate .... ". (2) Requests for inmate religious dietary

     needs that cannot be satisfied ... will be considered". (EXHIBIT 2, DEPARTMENT OF

     CORRECTIONRELIGIOUS ACCOMMODATION REQUEST DATED 5/8/2021 WITH

     ATTACHED OAR#291-143-0112).

  22. On June 7, 2021 plaintiff sent a Kyte requesting to see Chaplain Ball in-person. A couple of

     days later, plaintiff had a conversation with Mr. Ball in his office. The plaintiff inquired about

     the status of the Religious Accommodation Request he had submitted the month before.

     Chaplain Ball reassured the plaintiff that he, "had submitted the request and was waiting for

     the reply from Salem". (EXHIBIT 3, KYTE TO CHAPLAIN BALL, DATED 6-7-21).

 23. On July 13, 2021 plaintiff sent a Kyte to Chaplain Ball, wherein the plaintiff raised his

     concerns over the fact that, by the standards of the plaintiff's Islamic faith, the condition by

     which the DRCI kitchen handles, prepares, cooks, serves, and distributes food, as well as, the

     manner in which all cookware, utensils, trays, bowls, and cups etc ..... are cleaned is

     insufficient and inadequate, so as to not to be contaminated by pork and /or pork by-products

     and is thus ritually unclean. (EXHIBIT 4, KYTE TO CHAPLAIN BALL, DATED 7/13/21).



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        24. On July 14, 2021 plaintiff sent a kyte to acting superintendent, Mr. Ackley, wherein he

           brought to superintendent Ackley's attention many of the same concerns addressed in the kyte

           referred to above. (EXHIBIT 5 KYTE TO CHAPLAIN BALL, DATED 7/13/21)". EXHIBIT 5,

           KYTE TO MR. ACKLEY, DATED 7/14/21). Although this kyte was addressed to Mr. Ackley, it

           was forwarded to Chaplain Ball who responded, with "surprise" that plaintiff hadn't received

           any response to his Religious Accommodation Request from Salem. Plaintiff received

           Chaplain Ball's response on 8/26/2021, to a kyte plaintiff sent on 7/14/2021, and Mr. Ackley

           told plaintiff at the end of July 2021 it had been forwarded to Chaplain Ball.

        25. On August 13, 2021 plaintiff sent a kyte to DRCI food service manager, Ms. Peel, questioning

           the manner in which items in the kitchen are cleaned and sanitized, so as not to be

           contaminated by pork or pork by-products, especially as it concerned the preparation of food

           for the Eid Al-Adha feast that was celebrated on 7/28/21. (EXHIBIT 6, KYTE SENT TO MS.

           PEE, DRCI FOOD SERVICE MANAGER, DATED 8/13/21). Ms. Peel's response to this kyte

           stated, "Per Stuart Young, ODOC religious service administrator: Cooking pots and pans,

           serving platters, bowls and dishes, cooking and serving utensils are properly sanitized for each

           meal". This is a curious assertion, since Assistant Religious Service Administrator "Young"

           due to his location in Salem, and responsibilities over religious service, is not at the DRCI

           kitchen; would have no way of knowing whether or not the DRCI kitchen "properly sanitized"

           the items in question as it relates to pork products. What it does show is Assistance Religious

           Service Administrator, Mr. Young's involvement in denying plaintiffs request to be offered

           meals that adhere to the exercise of plaintiff's Islamic beliefs, creating a substantial burden on

           the plaintiff.

        26. On August, 24, 2021 plaintiff sent a Kyte to Chaplain Mr. Ball, wherein the plaintiff reminded

           Mr. Ball that on 7/15/21, over a month ago, Mr. Ball indicated having an answer, "With 2

           weeks+ .... ". At this point a pattern of promise and delay had been established where on May



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     8, 2021 plaintiff submitted a Religious Accommodation Request, after waiting a month to

     allow the process to unfold, plaintiff contacted Mr. Ball on June 7, 2021 at which time Mr.

     Ball reassured plaintiff that the request had been sent to Salem, and was awaiting a reply.

     Another month passed without any indication of decision; and once again, plaintiff requested

     an update on the status of the request, in which Mr. Ball seemed "Surprised" in his response

     that the issue was unresolved. Mr. Ball well knew that he was the conduit through which the

     information would be relayed from Salem to the plaintiff. At this point on July 15, 2021 Mr.

     Ball reassured plaintiff a response would be forthcoming in "2 weeks+". After allowing

     another month to pass, in deference to the process, without hearing of any decision on

     8/24/21, plaintiff was still seeking the response to his Religious Accommodation Request he

     had sent nearly a full 4 months prior on May 8, 2021. (EXHIBIT 7, KYTE SENT TO

     CHAPLAIN BALL, DATED 8/24/21). In his response dated 8/31/21, Mr. Ball stated,

     "Apologize for the reply taking so long. I did inquire in Salem today about your religious

     accommodation request. I expect a reply back today or tomorrow. Thank you for your

     patience."

  27. On September 2, 2021 plaintiff sent a kyte to Chaplain Mr. Ball wherein he reminded Mr.

     Ball of Oregon Administrative Rule (OAR) 291-143-0112, "Inmate may petition to have

     religious accommodation for meal from the facility religious coordinator" and repeated his

     request for a Halal meal or a kosher meal as an alternative. (EXHIBIT 8, KYTE SENT TO

     CHAPLAIN BALL, DATED 9/2/21). On 9/3/2021 Chaplain Mr. Ball responded, "You have

     already done everything you can do to receive Halal/Kosher meals. You properly filled out the

     two forms I gave you and returned them to me. I sent those to Salem, and as I told you

     yesterday in person, they have changed who is supposed to review/ approve/deny those

     religious meal requests and they never received yours. So, on 8/31/21 I resent it. Now we wait

     for a reply." There are a few discrepancies to be pointed out here: 1) Plaintiff never saw or



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     spoke to Chaplain Ball on 9/2/21 as asserted, "As I told you yesterday" by chaplain Mr. Ball.

     2) Never having spoken to Chaplain Ball on Thursday 9/2/21, plaintiff was never told, they

     have changed who is supposed to Review/ Approve/ Deny those religious meal request. .. ". 3)

     Counselor B. Clore spoke to Chaplain Ball on behalf of plaintiff the morning of 8/31/21 and

     Chaplain Ball indicated to Counselor B. Clore, " ... reply back today or tomorrow". 4)

     Counselor B. Clore, on the morning of 9/3/21 called Chaplain Ball on plaintiffs behalf and

     Chaplain Ball indicated, "Should hear or receive today after noon sometime". 5) Plaintiff went

     to see Chaplain Ball in-person on 9/3/21 around 1 :30pm, at that time Chaplain Ball informed

     plaintiff, "I haven't got anything yet, stay patient". Mr. Ball also said, "let me look one more

     time at the e-mail, nothing yet". 6) In the course of these interactions Chaplain Ball never

     indicated to plaintiff the fact of Salem not receiving the request, or any change in policy or

     personnel as an excuse for the delay or having re-sent it on 8/31 /2 l, or in receiving the

     response dated Sept 1, 2021. So being told by Mr. Ball, "you have already done everything

     you can do .... " didn't have any finality to the plaintiff, as at that point in time, plaintiff had

     not been informed as to the nature of the final decision.

  28. On September 16, 2021 plaintiff received the response from Salem dated September 1, 2021.

     In the letter it stated that the date ofrequest was May 8, 2021 and the Office of the

     Administrator of Religious Services received the request on August 31, 2021. (EXHIBIT 9,

     DENAIL LETTER FROM DARYL BORELLO, ADMINISTRATOR RELIGHIOUS SERVICE,

     DATED SEPTEMBER 1, 2021). This lapse in the time of nearly 4 months between the

     submission of the Religious Accommodation Request to Chaplain Ball on May 8, 2021 and

     Salem receiving it on August 31, 2021 is significant because in the interim every day that

     passed waiting for a decision was a day plaintiff had to choose between satisfying his

     nutritional and biological needs and fulfilling his obligations to observing the tenets of his

     faith due to the inadequacy of the status quo in the DRCI kitchen as it regarded to meeting the



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     Islamic standard for purification and cleanliness as prescribed in the two leading sources of

     the Islamic teaching: The Qur' an and the Hadith. This delay as well as the protections under

     RLUIPA, constituted a pattern of willful discrimination against the plaintiff due to his being of

     Muslim East African birth and descent, as well as in retaliation against the plaintiff for having

     the temerity to challenge the status quo and his insistence on the right to exercise his religion.

     The record of communication shown above shows a pattern of dissembling and empty

     promises, and then a pathetic attempt to conceal the actions made by Chaplain Ball.

  29. In the letter from Daryl Borello, Administrator Religious Services, it disparages plaintiffs

     commitment and adherence to his faith when he made suggestions about plaintiffs canteen

     purchases without any evidence, a false canard. Perhaps, Administrator Mr. Borello, could

     make a claim that plaintiff only prays 4 ½ times a day, or more scandalously is not always

     facing precisely in the direction of Mecca? Assertions such as these attempt to cast doubt by

     casting aspersions toward the legitimacy of the plaintiffs faith, and are absurd. Any serious

     inquiry into the matter would find that the plaintiff is a cultural Muslim since his birth.

     Secondly, Mr. Borello relies on an unnamed "Imam" to point to as an 'authority' who gives

     his blessing, his full weight and support for existing DOC dietary policy and practices. This

     Imam is referred to as an authority whose opinion bears such significant weight, that his

     opinion is the final word on the matter, and is able to settle the question definitively. However,

     in being completely anonymous, the Imam is nothing more than four (4) letters set together in

     a particular order upon the printed page, without any bona fides listed as to the Imam's name,

     education, religious sect, or mosque that he presides over, there is no way to ascertain the

     legitimacy of this Imam's claim as it relates to normative orthodox Sunni Islamic teaching to

     which the plaintiff is an adherent.

  30. On September 22, 2021 Plaintiff sent a Non-Emergency Health Care Request to medical

     about his medical concerns of eating beans and peanut butter. Plaintiff made medical staff



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            aware that when he does eat beans that it causes him to have extremely bad intestinal cramps

            and gas discomfort that interferes with his ritual cleanliness of obligatory prayers. (EXHIBIT

            10, NON-EMERGENCY HEALTH CARE REQUEST, MEDICAL PROGRESS NOTES,

            DATED 10/04/2021)

         31. On September 28, 2021 plaintiff filed a grievance against Mr. Borello and Chaplain Ball for

            their denial to provide the plaintiff with halal meal or kosher meal as a satisfactory substitute.

            (EXHIBIT 11, GRIEVANCE COMAPLAINT#DRCM-2021-10-015, DATED 9-28-2021). In the

            grievance plaintiff pointed out the fact that ODOC does not utilize alcohol in it's kosher

            cooking method, (contrary to the Imam's assertions) and that there is at least one known

            example of a Muslim AIC being provided kosher meals by the ODOC. Plaintiff also pointed

            out the fact that saying something is so, does not in itself make it so, and suggested that this

            heuristic truth should be applied by performing an investigation into the manner in which food

            is handled, prepared, and served; as well as how eating, cooking ware, and utensils are

            cleaned and sanitized in the DRCI kitchen, before declaring the manner {settled} by faith.

         32. On September 28, 2021 plaintiff sent a kyte to Food Service Manager, Ms. Peel, inquiring as

            to the anonymous 'IMAM' whom Mr. Borello cites, claiming that Kosher meals include

            alcohol. (EXHIBIT 12, KYTE SENT TO MS. PEEL, DATED 9/28/2021). Ms. Peel replied that

            I am unaware of _Alcohol being used to cook kosher.

         33. On October 7, 2021 Plaintiff sent a Kyte to Mr. Ball, wherein the plaintiff notified him of his

            medical concern of eating beans. Plaintiff further explained that beans cause him to have

            extremely bad intestinal cramps and gas discomfort that interferes with the ritual cleanliness

            and cause hardship for him to pray at prayer time, and requests to have alternative substitution

            from beans. (EXHIBIT 12, KYTE SENT TO MS. PEEL, DATED 9/28/2021). In his response

            Mr. K. Ball, stated "I have reported your issue to medical, to food service, and to religious

            service".



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  34. On September 30, 2021 plaintiff sent a kyte to Food Service Manager, Ms. Peel, to make Ms.

     Peel aware of an instance of staff mishandling food items, and thus cross-contaminating food

     items with pork that occurred on 9-12-21. (EXHIBIT 13, KYTE SENT TO MS. PEEL, DATED

     9/30/2021). In the kyte plaintiff noted how is concerns were ignored at the time by the staff,

     he did not eat as a consequence, and the fact that this is not the first time this has occurred.

  35. On the morning of October 4, 2021 while plaintiff was working OCE Call Center, plaintiff

     received a phone call from medical concerning his dietary need. Plaintiff told the defendant

     John Doe that he needs alternative from beans. (EXHIBIT 14, NON-EMERGENCY HEALTH

     CARE REQUEST, MEDICAL PROGRESS NOTES, DATED 10/04/202). Plaintiff was told by

     the unknown staff named that you have bought Beef Sausage for canteen and denied the

     plaintiff's request.

  36. On October 5, 2021 plaintiff sent a kyte to canteen coordinator, Mr. Murphy, inquiring about

     Halal items that are available at canteen. (EXHIBIT 15, KYTE SENT TO MR. MURPHY,

     DATED 1015/2021). Mr. Murphy responded that the only Halal meat available is "Tuna-

     Light," and that all halal items available have an "H"-Marking on the order sheet.

  37. On October 6, 2021 plaintiff sent a kyte to Chaplain Ball, to inquire about the following: 1) If

     Mr. Ball would acknowledge that the manner in which Halal Lamb is prepared in DRCI

     kitchen for the EiD-Al-Adha feast ensures that the lamb is contaminated by pork and pork by

     -products, and thus no longer Halal. 2.) That being the case, why wouldn't it be possible to

     allow Muslims to prepare the lamb? 3.) Why is it that during Ramadan, the meals provided,

     all contain non-halal pre-packaged Turkey and Roast-Beef? 4.) Why is there no Imam at

     DRCI? (EXHIBIT 16, KYTE SENT TO CHAPLAIN BALL, DATED 10/6/2021). In his

     responses to plaintiff's 4 questions, Mr. Ball, gave a run-around of non-responses and a prior

     reply by Ms. Peel, dated 8-16-2021.




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  38. On October 6, 2021 plaintiff sent a kyte to Mr. Ball, wherein the plaintiff inquired about his

     concern of eating beans. Plaintiff further explained that beans causes him to have extremely

     bad intestinal cramps and gas discomfort that interferes with the ritual cleanliness and causes

     hardship for him to pray at prayer time and requested alternative substitution from beans.

     (EXHIBIT 17, KYTE SENT TO MR. BALL, DATED 10/07/2021). In his response Mr. K.Ball,

     "I have reported your issue to medical, to food service, and to religious services".

  39. On October 14, 2021 plaintiff sent a kyte to Chaplain Mr. Ball wherein Mr. Ball is asked if

     the Turkey, Roast-Beef, Etc .... that DRCI provides to AIC's is Halal or kosher, and if the meat

     served is not halal or kosher, then why is it being provided to Muslims during the holy month

     of Ramadan? (EXHIBIT 18, KYTE SENT TO CHAPLAIN BALL, DATED 10/14/2021)

  40. On October 29, 2021 Chaplain Ball wrote a response to GRIEVANCE# DRCM-2021-10-

     015, in which he denied the plaintiff's complaint citing the exact same word for word

     response as was included in the denial letter for Administrator Religious Service, Daryl

     Borello, Dated 9- 1-2021. Again, this serves to the point that saying something doesn't make it

     factual, copying and pasting a fallacy does not make it true. (EXHIBIT 19, GRIVANCE

     REPONSE TO GRIEVANCE#DRCM-2021-10-015, DATED 10/29/2021).

  41. On November 8, 2021 plaintiff sent a kyte to Food Service Manager, Ms. Peel, regarding the

     same concern as EXHIBIT K, namely the alcohol content, if any of DOC provided kosher

     meals. (EXHIBIT 20, KYTE SENT TO MS. PEEL, DATED 11/8/21 ). Ms. Peel responded: "I

     have received confirmation from the supplier of the kosher meals they do not contain

     alcohol". This directly contradicts the assertion made by an anonymous "Imam" in the denial

     letter dated 9-1-2021, where the 'Imam' states: "Muslims do not eat kosher as there are

     additions or cooking methods (including Alcohol)".

  42. On November 11, 2021 plaintiff went to dinner in the dining hall where pork pizza was being

     served on a Thursday night. Plaintiff went through the line and based on the placement of the



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     one "Meal contains Pork" sign he did not take the soup, plaintiff instead got a serving of

     pizza. Plaintiff sat down and only after taking a second bite of the pizza was informed that it

     contained pork. Upon hearing this plaintiff spit the mouthful of pizza out, rinsed his mouth,

     and confirmed with the kitchen coordinator that the pizza had pork in it. Plaintiff tossed the

     tray and cup in the trash. On his way out of the kitchen plaintiff was confronted by

     correctional officer, Mr. Vasquez. Plaintiff verbally asserted his right to grieve the DRCI

     kitchen and went back to his unit. Within about a half hour two correctional officers came and

     escorted plaintiff in retaliation for exercising his First Amendment right, to the Disciplinary

     Segregation Unit (DSU). (EXHIBIT 21, ODOC MISCONDUCT REPORT, CASE# DRCM

     2111 DRCM 0026 DRCM 17, DATED 11/11/2021). Later that same evening plaintiff asked

     Sgt. Mr. Towle, why he was placed in DSU. Sgt. Mr. Towle. He responded he could not say,

     but allegedly it was not because of what happened earlier in the dining hall, it was for

     "something else". The following week while plaintiff was still in segregation Mr. Vasquez told

     plaintiff: "it wasn't my idea to get you over here, my intention was to cell you in, but my co-

     workers put you here for a prior issue with your grievance".

  43. On November 18, 2021 plaintiff sent a kyte from disciplinary segregation unit (DSU) to Ms.

     Peel, wherein he inquired why he was not getting substitution for beans, while he was being

     provided other alternative proteins from beans before his placement in DSU. (EXHIBIT 22

     KYTE SENT TOMS. PEEL, DATED 11/18/2021)

  44. On November 18, 2021 the plaintiff sent a kyte from DSU to Chaplain Ball, where he

     requested, that in light of a non-black Muslim receiving kosher at DRCI, if the decision to

     deny plaintiffs request for religious accommodation for ideally halal, or as a compromise,

     kosher was based on the fact the plaintiff is a black African, and/ or if ODOC was denying the

     plaintiff was a Muslim. (EXHIBjT 23, KYTE SENT TO CHAPLAIN BALL, DATED

     11/18/2021). Chaplain Ball's response was to deny that there was any bias in the decision, but



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     that it was based on plaintiffs canteen purchase history, and the anonymous 'Imam's' stamp

     of approval for what the ODOC offers to Muslim AIC's. The interesting point here is that

     Muslim AIC, Rashid Kambarov who was being provided kosher meals, purchased the items in

     question from canteen as the plaintiff did, and was also the recipient of the adequacy of what

     the ODOC offers to Muslims, same as plaintiff. So, the question remains, if the reason

     proffered for denying the plaintiff Religious Accommodation in the form of kosher meals,

     applied equally to the AIC Rashid Kambarov, who was provided kosher meals, then what

    . would explain the discrepant disparity in how the two Muslim AI C's were treated?

  45. On November 21, 2021 the plaintiff sent a kyte from DSU to DRCI food service manager,

     Ms. Peel, regarding the signage that was posted that indicate which items in a meal contain

     pork, specifically "on 11-11-2021 at dinner time there was a posted sign that said meal

     contains pork, it means that the whole line contains pork/swine because the sign does not say

     which item that contain pork/swine". (EXHIBIT 2 4, KYTE SENT TO MS. PEEL, DATED

     11/21/2021). Ms. Peel's response was, "we are not required to post signs about pork or any

     other food item".

  46. On December 1, 2021 plaintiff submitted his first appeal to grievance# DRCM-2021-10-

     015A wherein plaintiff disputes Administrator of Religious Service, Mr. Borello' s response to

     the original grievance and affirmatively stated: 1.) plaintiff is not vegetarian, 2.) there is no

     history of teaching of the prophet Mohammed or his followers being vegetarian, 3.) the

     vegetarian option provided by ODOC does not meet the Muslim standard for purification and

     cleanliness prescribed under Islamic law, 4.) plaintiffs rights have been violated under the

     U.S constitution and RLUIPA, and plaintiff has been forced to choose between his biological

     nutritional and spiritual religious requirement. (EXHIBIT 25, FIRST APPEAL GREIVANCE#

     DRCM-2021-10-015A, DATED 12/1/2021).




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  47. ON December 10, 2021 plaintiff received a response to his first appeal grievance #DRCM-

     2021-10-0lSA from Assistant Administrator Religious Service, Stuart Young, in which Mr.

     Young stated, " ... on the current menu pork entree can be served two times per week. There

     are twenty-one (21) meals per week". The menu posted at that time, that covered five weeks

     of menus had either {four or five meals that contains pork, so factually}. The above assertion

     is not correct, along with being insulting, that somehow as a Muslim it is "ok" or "not a big

     deal" ifl don't eat a couple meals because after all there are 21 meals in the week. Applying

     that standard to the general population, ''I'm sorry sir, you've already had 19 meals this week,

     we can't serve you", would not be tolerated. Mr. Young also stated, "According to our Imam

     volunteer, chicken and fish are naturally or processed halal". Again, the bone tides of the

     Imam in question are not known, but this assertion is ridiculous and easily refuted. A quick

     look at the canteen sheet shows that the chicken offered is not 'marked Halal' and furthermore

     the tuna offered that is marked halal on the canteen sheet does not indicate that this is the case

     anywhere on its packaging. (EXHIBIT 26, RESPONSE TO GRIEVACEAPPEAL#DRCM-

     202l-l0-015A, DATED 12/10/2021). Lastly, assistance Administrator Young asserted, ''the

     food is prepared and served in a manner that avoids contamination ... the plated, bowls, cups,

     eating utensils and meal trays to eat the food are also properly cleaned and sanitized for each

     meal. Plaintiff's personal experience as already cited by the kyte to Ms. Peel, dated exhibit

     would argue otherwise.

  48. On December 16, 2021 plaintiff sent a kyte to food service manager, Ms. Peel, inquiring if

     DRCI has a kosher or halal kitchen. (EXHIBIT 2 7, KYTE SENT TO MS.. PEEL, DATED

     12/16/2021). Ms. Peel replied" ... no we do not have a kosher or halal kitchen".

  49. On December 23, 2021 plaintiff submitted a second/final appeal for grievance# DRCM-

     2021-10-0lSAA wherein plaintiff pointed out that: "l. DRCI does not have halal or kosher

     kitchen, 2. The regular meal trays and pork-free, meat alternative (Veggie) trays are



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     contaminated. If regular meal trays and pork-free, meat alternatives were not contaminated,

     then cooking kosher would be prepared at DRCI instead of purchasing kosher from suppliers,

     3. Mr. Young states that plaintiffs canteen purchases shows plaintiff routinely orders non-

     halal beef products, yet did not photo copy plaintiffs purchases to show him, 4. DRCI meats

     are not kosher or halal, 5. Sanitization is not sufficient in itself to meet the religious standard

     of purification, (EXHIBIT 28, FINAL APPEAL GREIVANCE#DRCM-2021-10-015A, DATED

     12/23/2021).and cites, SEE "ROMAN LEE JONES, v. COMMISSIONER, INDIANA

     DEPARTMENT OF CORRECTION, CASE# 1:16-cv-2887-WTL-MJD, UNITED STATES

     DISTRICT COURT SOUTHERN DISTRICT, INDIANA INDIANAPOLIS.

              "The Defendant's refusal to provide Jones with a meat-based diet that meets the
             requirements of Jones's religious beliefs violates Jones's rights under RLUIPA.
             Based on Jones's testimony, meals that include kosher meat meet his religious
             requirements. Accordingly, the Court will enter an injunction requiring the
             Defendant to provide Jones with meals that provide halal or kosher meat on a
             regular basis. The pre-packaged kosher trays served to inmates at prisons that
             do not have a kosher kitchen would, according to the evidence presented to the
             Court, satisfy the requirements of Jones's religious beliefs. Jones's request for
             declaratory and injunctive relief is GRANTED and the Court will enter
             judgment in Jones's favor. Jones's"

  50. On January 24, 2022 plaintiff filed a grievance complaint against Chaplain Ball for his failure

     to provide him any information regarding the Imam referred to him in the denial letter from

     Mr. Borello, (EXHIBIT 9, DENAIL LETTER FROM DARYL BORELLO, ADMINISTRATOR

     RELIGHIOUS SERVICE, DATED SEPTEMBER 1, 2021). (Grievance complaint (EXHIBIT 29

     (DRCM-2022-01-051, DATED 01/24/2022).

  51. On the morning of March 3, 2022 plaintiff had seen the grievance coordinator, Mr. Ybarra, in

     his office. Plaintiff inquired of Mr. Ybarra, "what happened with my response to grievance

     #DRCM-2021-10-015AA? Mr. Ybarra responded, "I already received the response, and I had

     to send it back, but I received it again today". Plaintiff replied, "What was the reason for you

     to send it back?" Mr. Ybarra responded, "There were several incorrect statements". Plaintiff




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     asked, "May I see the response?" Mr. Ybarra said, "No". Plaintiff asked, "Can you tell me

     what the response said?" Mr. Ybarra answered, "It said, you have kosher meal as an option is

     available to you". That's why I sent it back". This incident shows that Mr. Ybarra is acting not

     simply as a central clearing house to facilitate the dissemination of information through the

     proper channels to ensure the proper individual(s) receive information generated elsewhere.

     Rather, Mr. Ybarra is personally involving himself into the nature of the content others are

     responsible for having created, and the content generated by others; when his role and duty is

     simply to pass on the information to the individual for which it was intended.

  52. On March 3, 2022 plaintiff received the final response to his second/final appeal for

     grievance # DRCM-2021-10-015AA from Religious Service Administrator, Daryl Borello, in

     which Mr. Borello denied plaintiff claims and concurred with Assistance Administrator Mr.

     Young, that plaintiffs grievance was unwarranted, because everything ODOC did was

     sufficient to the religious and nutritional needs ofMuslimAIC's. (EXHIBIT 30 (DRCM-2022-

     01-015, DATED 01/24/2022).

  53. On March 3, 2022 while plaintiff was in the chow hall for dinner, plaintiff was made aware,

     after eating the dessert cake, that the cake contained gelatin which contained pork. While there

     was a sign that indicated the following, "this meal contains pork" it did not indicate which

     item(s) contained pork, nor was the sign posted where the cake was being served. When

     plaintiff brought this to the attention of the food coordinator, Ms. Aeshliman, her response

     was, "we are not required to notify you whether the item has pork or not". (EXHIBIT 31,

     GREIVANCE #DRCM-2022-03-031, DATED 3/15/2022)

                             EXHAUSTION OF REMEDIES

  54. Plaintiff has exhausted his remedies under the PLRA, by filling grievance#

  DRCM_2021_10_015 (against defendants Borello, Ball) (response from Ball, Young, Borello),

  and discrimination#DRCM_2021_08_053 (against defendant Ball), and Grievance#



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  DRCM_2022_01_051 (against defendant Ball), and grievance# DRCM_2022_03_031 (against

  defendant Peel), and grievance# DRCM_2023_02_033 (against the entire DRCI medical

  department). TORT Claim #Ll816900L

                                          CLAIMS

                               FIRST AMENDMENT CLAIM

  55. Plaintiffs reincorporates paragraph above, and alleges:

  56. Defendants Ball, Borello, Young, have violated plaintiffs first amendment rights under free

     exercise clause, because the defendants have violated plaintiffs sincerely held religious

     beliefs, causing a substantial burden.

  57. As an observant Muslim with adherence to Islamic teaching, plaintiffs right to the free-

     exercise of religion is being denied by the defendant(s) through the Department of

     Correction's failure to provide halal meals to plaintiff, and by the defendant's actions.

  58. The defendant's Ball, Borello, Young, failure to provide the plaintiff with meat tharis halal, to

     adequately safeguard against pork contamination of other food, to adequately and consistently

     identify pork and pork by-products on the menus, forces the plaintiff to either eat proper

     nourishment purchased from canteen, or risk eating pork or pork contamination food, or eat

     food not otherwise halal. The extra expense of plaintiff purchasing food from canteen is actual

     damage and injury.

  59. The defendant's failure to provide halal meals is substantial burden on the plaintiffs religious

     practice and violates plaintiffs rights under Religious Land Use Institutionalize Person Act.

     (RLUIPA).

  60. Under RLUIPA, a government may not impose a substantial burden on the religious exercise

     of a confined person unless the government establishes that the burden furthers a "compelling

     governmental interest" and does so by "the least restrictive means." 42 U.S.C. § 2000cc-

     l(a)(l). The defendant's deprived the plaintiffs rights under RLUIPA, where defendants



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     repeatedly exposed the plaintiff to pork, to the point that the plaintiff hardly went to meals

     because of the contamination of pork or pork by-products and adhering to his spiritual

     requirements at the expense of his physical needs. When plaintiff did go to meals out of sheer

     hunger, he was fulfilling his physical requirements at the expense of his spiritual obligations.

     Plaintiff felt guilty either in having to constantly make the choice between meeting physical or

     spiritual needs, which produced anxiety in the plaintiff and a substantial burden on the

     exercise of his sincerely held religious beliefs.

  61. The choice between the state created benefit of meals, and the exercise of plaintiff's first

     amendment beliefs, has created an unconstitutional condition on the plaintiff.

                           EIGHTH AMENDMENT CLAIM

  62. The defendant(s) Ball, Borello, Young, Peel, Battle, deprived the plaintiff of his eighth

     amendment right to be free of cruel and unusual punishment.

  63. The defendants have denied the plaintiffs constitutional right by failing to provide a

     nutritionally balanced meal. The institution has failed to provide a diet which conforms to the

     requirement of Islamic shar'ia law, that also meets acceptable medical and nutritional

     guidelines.

  64. The regular meals provided by ODOC are contaminated by pork or pork by-products, and is

     against the plaintiff's religious faith to be eaten, also known as "haram", which is sinful and

     forbidden.

  65. The vegetarian diet that defendant(s) confirm to be halal is also contaminated. It causes the

     plaintiff to have medical problem eating the beans and peanut butter because the beans and

     peanut butter cause him an extremely bad intestinal cramps and gas discomfort that interferes

     with plaintiff's religious practice ofritual cleanliness while doing obligatory prayers (Salat).

     SEE SHAKUR v. SCHRIRO, 514 F.3d 878 (9th Cir. 2008),




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                      "Shakur has contended throughout the administrative grievance process
                      and this litigation that the vegetarian diet causes him hardship because it
                      "gives [him] gas" and "irritates [his] hiatal hernia." His primary issue
                      with the diet is that his gastrointestinal discomfort interferes with the
                      state of "purity and cleanliness" needed for Muslim prayer."


                                     RETALIATION

  66. Plaintiff incorporates the above, and asserts:

  67. Furthermore, plaintiffs eighth amendment rights were and are violated by the defendant(s)

     Vasquez, Jones, John Doe, John Doe, through their retaliatory adverse actions placing the

     plaintiff in DSU for eleven (11) days with no supporting cause on November 11, 2021, for

     exercising his free speech, due process, and religious rights.

  68. A prison retaliation claim requires that: (1) "a state actor took some adverse action against an

     inmate, (2) because of (3) that prisoner's protected conduct, and that such action (4) chilled the

     inmate's exercise of his First Amendment rights, and (5) the action did not reasonably advance

     a legitimate correctional goal." Rhodes, 408 F.3d at 567-68; Pratt v. Rowland, 65 F.3d 802,

     806 (9th Cir. 1995). "The filing of an inmate grievance is protected conduct." Watison

     v. Carter, 668 F.3d 1108, 1114 (9th Cir. 2012). On the fourth element, "[a] plaintiff who fails

     to allege a chilling effect may still state a claim if he alleges he suffered some other harm that

     is more than minimal." Id. (internal quotations and citations omitted).

  69. Here, plaintiff argues that: (1) Plaintiff was placed in DSU.for Eleven (11) days, which is an

     adverse action, (2) because of (3) Plaintiff's alleged free speech, which was protected under

     the first amendment, (4) The defendant's actions chilled the exercise of plaintiff free speech,

     (5) and Defendant's had no penological reason for the plaintiff placement in DSU.

              FOURTEENTH AMENDMENT CLAIM- Equal Protection

  70. Plaintiff incorporates the above, and alleges:




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  71. Plaintiff's fourteenth amendment right to equal protection was violated by the department

     when the defendants provided kosher meals to AIC Rashid Kambarov, an observant Muslim

     during the same period of time when defendants were denying plaintiff's requests for the same

     thing (a kosher meal) as an observant Muslim himself. It is also the plaintiff's belief that his

     equal protection rights were prima facie being violated by the mere fact that one religious

     faith (Jewish) has their respective dietary requirement accommodated so they may observe

     their religious practice by being provided meals that conforms to their respective religious

     laws and beliefs. A simple test of this would be to imagine that Muslims were provided Halal

     meals, while Jewish practitioners were denied kosher meals. The unfairness, and

     discriminatory nature of such a policy would be readily evident.

                             SUPERVISORY LIABILITY

  72. Plaintiff incorporates the above, and alleges defendants Borello, Steward, Young, Ybarra, are

     liable under "supervisor liability" for failing to take action to prevent or correct their

     subordinates' unconstitutional actions of the policies and procedures within ODOC that are

     implemented. (SEE STARR v. BACA, 633 F.3d 1191 (9th Cir. 2011):

     "We have long permitted plaintiffs to hold supervisors individually liable in§ 1983 suits

     when culpable action, or inaction, is directly attributed to them. We have never required a

     plaintiff seeking to state a claim for supervisory liability to allege that a supervisor was physi-

     cally present when the injury occurred. In Larez v. City o{Los Angeles, 946 F.2d 630 (9th

     Cir.1991), we explained that to be held liable, the supervisor need not be "directly and person-

     ally involved in the same way as are the individual officers who are on the scene inflicting

     constitutional injury." Id. at 645. Rather, the supervisor's participation could include his "own

     culpable action or inaction in the training, supervision, or control of his subordinates," "his

     acquiescence in the constitutional deprivations of which the complaint is made," or "conduct




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           that showed a reckless or callous indifference to the rights of others." Id. at 646 (internal cita-

           tions, quotation marks, and alterations omitted)".

           YOUNG, Assistant Administrator Religious Service

     1. Young, is to be held liable in his supervisory position for his failure to adequately supervise

          Defendant Ball, at Deer Ridge Correctional Institution to ensure that defendant Ball is carrying

          out the Chaplains duties to provide fair and equal access for AIC's to practice their various re-

          ligious faith practices without fear or favor, in the plaintiffs case orthodox Sunni Islam.

     2. Young liability also extends to his lack to adequate supervision over, defendant Peel, Food Ser-

          vice Manager, at DRCI, insofar as it relates to the kitchen's preparation and cleaning practices,

          not as a county health inspection issue, but as a religious purification standard over which

          Youngs, has supervisory authority to implement and oversee directive, policies, and practices

          that allow the plaintiff to faithfully follow that teachings and tenets of his Islamic Shar'ia law

          when the preparation, distribution, and consumption of food is treated as a ritual matter.

     3. Young's Acquiescence in the constitutional deprivations of which this complaint is made

          shows a reckless and callous indifference to the religious rights of the plaintiff.

          BORELLO, Administrator Religious Service

     4.   Borello is to be held liable in his supervisory position for his failure to adequately supervise

          the Religious Accommodation request process, itself, rather than addressing the request itself.

          In this case, regarding the provision of a meal that is certifiable Halal, Borello attacks plain-

          tiffs request by addressing the meal that is being provided by DRCI (which for a variety of

          reasons that the plaintiff attempts to bring to Borello's attention, is not certifiable Halal, again

          not for one but for many reasons).

     5.   In this way Borello abrogates his responsibility to an unverified, and unvetted opinion of his

          subordinate Defendants, who themselves have not been present or investigated the claims and

          concerns of the plaintiff as to the ritual uncleanliness (Cross-contamination) of food products



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    served in the DRCI kitchen. Which includes that which is served as part of the observation of

    Ramadan, not being certifiably Halal. To the list of unverified, and unvetted, unqualified may

    be added when it comes to Borello's reliance on the opinion of an anonymous, Imam, on

    whom Borello, as a definitive authority and last word on the perfunctorily claimed adequacy of

    what is provided as being sufficient to meet the purification standard that is common to Islamic

    Shar'ia law while also meeting the nutritional needs of an observant Muslim AIC.

 6. Not only are the Imam's claims unqualified due to his anonymous, but as a consequence of Bo-

    rello' s failure to properly supervise over the Religious Requirement of plaintiff at DRCI.

 7. This Imam in Question, nor defendants Borello and Young, has never been to this Institution

    during the period of time in question to determine for themselves through inspection that the

    process and procedures being followed in the DRCI kitchen meets the standard of ritual clean-

    liness and purification.

 8. As is the case, previously mentioned, with Young, Borello, their acquiescence in the constitu-

    tional deprivations of which this complaint is made shows a reckless and callous indifference

    to the religious rights of the plaintiff.

    YBARRA, Grievance Coordinator.

 9. Ybarra, interfered with plaintiffs rights to free exercise of his religion when he sent back the

    grievance response from Borello, to DRCM-10-015AA that as originally sent, said that, "You

    have kosher meal as an option available to you (plaintiff)", as reported to plaintiff by Ybarra.

    Since the final response denied plaintiff both Halal and Kosher meals, this action on the part of

    Ybarra raises many questions about the integrity of the grievance process, as well as the integ-

    rity of how decisions are made by the Religious Service office in Salem as run by Borello and

    Young.

 10. Ybarra's liability for the deprivation of the plaintiffs rights is in part due to his obstruction of

    the grievance process, in contravention of it as a means to redress grievances, when Ybarra



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    took action outside of the process so as to alter a decision that had been made by Borello and

    sent to Ybarra to then forward to plaintiff. It is Ybarra's role as a Grievance Coordinator to

    simply act as a clearing house for information from various parties and then make sure that the

    information form gets to the intended party it is addressed to in this case. However, Ybarra did

    not, as a subordinate to Borello, forward Borello's response to DRCM-10-015AA onto the

    plaintiff as his position as Grievance Coordinator requires him to do. Rather Ybarra took it

    upon himself to interfere on behalf of what Ybarra perceived to be that state's interest against

    the interest of the plaintiff's religious right, and in this way, Ybarra is directly responsible

    through his direct action of denying the plaintiff the free exercise of religion.

 11. In this case, specifically, being provided Kosher meals. This deliberate action on the part of

    Ybarra to obstruct the grievance process by taking extraordinary steps to effectuate the out-

    come of a decision made to a higher level in the chain of command within the ODOC shows a

    reckless and callous indifference to the religious rights of the plaintiff.




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            Case 3:23-cv-00556-MC          Document 1        Filed 04/14/23    Page 28 of 104

Wherefore: Plaintiff requests that the court grant the following relief:

   A. Issue an injunction ordering: Defendant(s) Borello, Young, Ball:

   1. The defendants Borello, Young, Ball to immediately arrange for the plaintiff to be provided

        Halal approved meals.

   2. Immediately arrange a Muslim Imam familiar with Sunni Islamic to inspect the DRCI

        kitchen to ensure that the food for plaintiff is in compliance with the Islamic Shar'ia Law.

   3. Immediately ensure that mainline meals are not cross-contaminated with pork, or pork by-

        products before and during service of the meal. Maintain jurisdiction of this case to ensure

        compliance.

   4. To immediately construct or deploy a Halal kitchen at DRCI for the preparation for the plain-

        tiffs meals.

   B. Issue an injunction ordering: Defendant(s) Borello, Young, Randall to:

   1.    For the department to modify their rules for religious dietary accommodation that prevents

         the cross-contamination for the plaintiff or for the department to adopt new rules that com-

         ply with th_e plaintiffs religious dietary needs.

   2.    For the department to adopt new rules that identifies what each meal contains.

   C. Award compensatory damage in the following amounts:

   1. $20,000 Jointly and severally against defendants Borello, Young, Ball for their denial to pro-

        vide Halal meals or otherwise ensure their prevision, to the plaintiff, knowingly and provid-

        ing the plaintiff meals that are/were Haram, in violation of plaintiffs first amendment rights.

   2. $30,000 Jointly and severally against defendants Ball, Peel for failing to provide the plaintiff

        nutritionally balanced meals that meet acceptable religious, health, and medical guidelines,

        which caused plaintiff a financial burden to live off canteen, and a substantial burden in the

        exercise of his religious beliefs in violation to RLUIP A.




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           Case 3:23-cv-00556-MC           Document 1       Filed 04/14/23     Page 29 of 104
   3. $15,000 Jointly and severally against defendants John Doe, John Doe, Vasquez, Jones for

       their retaliation to punish the plaintiff and placing him Disciplinary Segregation Unit (DSU)

       for eleven days. For plaintiff exercise his rights to free speech and redress.

   4. $10,000 against defendant Battle for his failing to document plaintiffs food allergy which

       caused substantial burden on plaintiffs religious exercise.

   D. Award punitive damages in the following amount to deter unconstitutional action:

   1. $10,000 Each against defendants Borello, Young, Ball.

   2. $10,000 Each against defendants Peel, Ball.

   3. $20,000 Each against defendants Vasquez, Jones, John Doe, John Doe.

   4. $10,000 Each against defendant Battle.

   E. Grant such other relief as it may appear that plaintiff is entitled.



Signed this Jl_day of __,__A.L.\xr~;,_ _ _ _, 2023-·




                                             Name: Hamza Mohammed Jama

                                             SID No. 23052446

                                             Deer Ridge Correctional Institution

                                             3920 E. Ashwood Road,

                                             Madras, OR 97741




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           Case 3:23-cv-00556-MC        Document 1    Filed 04/14/23       Page 30 of 104

Hamza Mohammed Jama SID#23052443
Deer Ridge Correctional Institution
3920 East Ashwood Rd,
Madras, Oregon 97741



                           IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF OREGON
                                  PORTLAND DIVISION

                                                  )
HAMZA MOHAMMED JAMA                               )
                                    Plaintiff,    )    Civil Case No.- - - - - - - -
                                                  )     (to be assigned by Clerk's Office)
               ~                                  )      '
                                                  )
FIRST NAME UNKOWN (FNU) BALL,                     )      EXHIBIT LIST IN SUPPORT
Chaplain, CHRISTOPHER, RANDALL,                   )         OF COMPLAINT
Superintendent, HEIDI STEWARD,                    )
Oregon Department of Corrections, Acting          )
Director, DARYL BORELLO, Administrator            )
Religious Service, STUART YOUNG, Assistant, )
Administrator Religious Service, F.N.U. Peel, Food)
Service Manager, F.N.U. YBARRA, Grievance         )
Coordinator, F.N.U. Vasquez, Correctional         )
Officer; JOHN DOE, Correctional Officer, JOHN )
DOE, Correctional Officer, F.N.U. BATTLE,       . )
ODOC Provider, F.N.U. JONES, Lieutenant,          )
F.N.U. Aeshliman, Kitchen Coordinator,            )
F.N.U Ackley, Acting Superintendent:              )
                                    Defendants, )
________________ )
                                   EXHIBIT LIST

   l. EXHIBIT 1, DISCRIMINATION FORM#DRCM_2021_08_053, PG.3, DATED 8/30/2021.

   2. EXHIBIT 2, DEPARTMENT OF CORRECTION AND RELIGIOUS ACCOMMODATION

       REQUEST DATED 5/8/2021 WITH ATTACHED OAR#291-143-0112.

   3. EXHIBIT 3, KYTE TO CHAPLAIN BALL, DATED 6-7-21.

   4. EXHIBIT 4, KYTE TO CHAPLAIN BALL, DATED 7/13/21.

   5. EXHIBIT 5 KYTE TO CHAPLAIN BALL, DATED 7/13/21)". EXHIBIT 5, KYTE TO MR.

       ACKLEY, DATED 7/14/21.



Page 1 of 3 -EXHIBIT LIST OF COMPLAINT - HAMZA MOHAMMED JAMA SID# 23052446
        Case 3:23-cv-00556-MC    Document 1    Filed 04/14/23   Page 31 of 104

  6. EXHIBIT 6, KYTE SENT TO MS. PEE, DRCI FOOD SERVICE MANAGER, DATED

     8/13/21.

  7. EXHIBIT 7, KYTE SENT TO CHAPLAIN BALL, DATED 8/24/21.

  8. EXHIBIT 8, KYTE SENT TO CHAPLAIN BALL, DATED 9/2/21.

  9. EXHIBIT 9, DENAIL LETTER FROM DARYL BORELLO, ADMINISTRATOR RELIGHIOUS

     SERVICE, DATED SEPTEMBER 1, 2021.

  10. EXHIBIT 10, NON-EMERGENCY HEALTH CARE REQUEST, MEDICAL PROGRESS

     NOTES, DATED 10/04/2021.

  II.EXHIBIT 11, GRIEVANCECOMAPLAINT#DRCM-2021-10-015, DATED9-28-2021.

  12. EXHIBIT 12, KYTE SENT TO MS. PEEL, DATED 9/28/2021.

  13. EXHIBIT 13, KYTE SENT TO MS. PEEL, DATED 9/30/2021.

  14. EXHIBIT 14, NON-EMERGENCY HEALTH CARE REQUEST AND MEDICAL PROGRESS

     NOTES, DATED 10/04/202.

  15. EXHIBIT 15, KYTE SENT TO MR. MURPHY, DATED 1015/2021.

  16. EXHIBIT 16, KYTE SENT TO CHAPLAIN BALL, DATED 10/6/2021.Attachedment Ms. Peel,

     Dated 10-6-21.

  17. EXHIBIT 17, KYTE SENT TO MR. BALL, DATED 10/07/2021).

  18. EXHIBIT 18, KYTE SENT TO CHAPLAIN BALL, DATED 10/14/2021.

  19. EXHIBIT 19, GRIVANCE REPONSE TO GRIEVANCE#DRCM-2021-10-015, DATED

     10/29/2021.

  20. EXHIBIT 20, KYTE SENT TO MS. PEEL, DATED 11/8/21.

  21. EXHIBIT 21, ODOC MISCONDUCT REPORT, CASE#DRCM 2111 DRCM0026 DRCM 17,

     DATED 11/11/2021.

  22. EXHIBIT 22 KYTE SENT TO MS. PEEL, DATED 11/18/2021

  23. EXHIBIT 23, KYTE SENT TO CHAPLAIN BALL, DATED 11/18/2021.



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            Case 3:23-cv-00556-MC              Document 1        Filed 04/14/23   Page 32 of 104

    24. EXHIBIT 24, KYTE SENT TO MS. PEEL, DATED 11/21/2021.

    25. EXHIBIT 25, FIRST APPEAL GREIVANCE# DRCM-2021-10-015A, DATED 12/1/2021.

    26. EXHIBIT 26, RESPONSE TO GRIEVACEAPPEAL#DRCM-2021-I0-015A, DATED

        12/10/2021.

    27. EXHIBIT 27, KYTE SENT TO MS.PEEL, DATED 12/16/2021.

    28. EXHIBIT 28, FINAL APPEAL GREIVANCE# DRCM-2021-10-015A, DATED 12/23/2021.

    29. EXHIBIT 29 GRIEVANCE#DRCM-2022-01-051, DATED 01/24/2022.

    30. EXHIBIT 30 GRIEVANCE FINAL RESPONSE #DRCM-2022-01-015, DATED 01/24/2022.

    31. EXHIBIT 31, GREIVANCE #DRCM-2022-03-031, DATED 3/15/2022.

    32. EXHIBIT 32, TORT CLAIM #Ll816001.

    33. EXHIBIT 33, GRIEVANCE# DRCM_2023_02_033 (against the entire DRCI medical

        department).



                             ALL EXHIBITS ARE ATTACHED




Signed this _Jl_ day of_-=-A---"-'5>:rl--=---',--1-\_ _ _ _ _, 20-12.._.




                                                 Name: Hamza Mohammed Jama
                                                 SID No. 23052446
                                                 Deer Ridge Correctional Institution
                                                 3920 E. Ashwood Road
                                                 Madras, OR 97741




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                          Case 3:23-cv-00556-MC                                  Document 1                    Filed 04/14/23                   Page 33 of 104

                                  Oregon Department of Corrections (ODOC)
                                                                            DRCI Minimum
                                                                           Grievance - Denied
               Jama, Hamza
              To:                                                                              SID #:          23052446                                Cell: DRCM:G106B
         From: Ybarra, J                                                                       Date:           08/31/2021


               Re:       Non-Medical# DRCM_2021_0~~053

The grievance you submitted is being returned to you due to non-compliance with the Department of
Corrections (DOC) Rule #109 (Grievance Review System) for the following reason(s):

Grievances must be received by the institution grievance coordinator or designee within 14 calendar
days from the date of the incident or issue being grieved, unless the AIC can satisfactorily
demonstrate why the grievance could not be timely filed. Untimely grievances will be denied and
returned to the AIC with a statement of the rule.

An AIC may only request review of one matter, action, or incident per grievance.

Grievances must be written within the appropriate space provided.

If you have any questions regarding your grievance, please refer to the Department of Corrections
Administrative Rule "Grievance Review System" tab #109 located in the legal library or kyte your
institution Grievance/Discrimination Complaint Coordinator.




Page 1 of 1
Confldentiallty Notice: This document contains information belonging to the Department of Corrections. This information may be confidential, restricted, and/or legally privileged, and is Intended for
appropriate and approved use under existing department rules, regulations, confidentiality and security agreements. If you have received this document in error, please notify DOC immediately, keep
the contents confidential, and promptly destroy the Information and/or delete the document information from your computer system.
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                                                                         GRIEVANCE FORM
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     List in detail all the reasons for your grievance. (What is the problem? When did it happen - date/time/place?) Attach copies of any
     documents or any material(s), which support your grievance, including the names of any persons you think should be questioned.

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     Describe what action you want taken to resolve the grievance. (How can the problem be solved?)




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                              Department of Correcti_ons ··· -..~,. -.--
                        Religious Acco·mmodation Request


Name of Inmate:        \::\o:n11c,    M To.n'1C\          SID Number:    Q..oas:2.yW        6
Institution:           QR C:t                            Date:   osjo ¥.,f'l 02 \
                              Inmate's Religious Request
                                 (Only one item per form)

      1.       What is the name of your religion or religious faith? (If Jewish, provide proof
               of maternal lineage or conversion.)




      2.

   ')::_vJo.~          °bo'<Q    O'.)\\S.\~ on ons.i
                                                                               n ,
               When did you begin practicing your religion or religious faith? Did you practice
               this religion or religious faith before be_ing incarcerated?
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      3.       What religious practices have you engaged in since being incarcerated?
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      4. .     What are you requesting, specifically? Describe in detail what you want to do \hat
               you can't do now, or what you want to be provided with that you can't have now.
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5.   How are you taking advantage of the ways the institution is already
  ,~mmodating the practice of your religion or religious faith?
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6.          Have you discussed your request with any authorities, leaders or scholars from
            your religion or religious faith? If so, with who have you distfussed your request,
            and what have those ipdividuals told Y.OU?                           t
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7.          Have you read about the religious practice you are requesting? If so, what
            sources have   nP
                            read, and what did they say?
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8.          Does the religious practice that you are requesting to be allowed to engage in
            have a foundation in a religious text (for example: the Bible, Koran or Torah)?
            Please identify as precisely as you can what part of the religious text provides the
      "\t   basis for your request.
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9.          If your request is denied, what alternatives would meet your_ rel!gious needs?
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                       Department of Corrections
                        Religious Diet Request

 If you are making a Religious Diet Request, please address the following questions:


 1. Describe the dietary laws associated with the religion that you practice. Please explain
    your understanding of these laws and what is required, allowed or prohibited.
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 2. What special food prepari:ition requirements are required to meet your religious diet n,e,eds?        r~n,i~
 J: L'O,vQ ex.i?\n\Qlsrl            =-ee. ~ o ( ) c-O<2 00-::::,,.,~~:f ?>r               J-.bod


 3. Are there 'extra' requirements associated with food preparation that are part of your
    religious belief or tradition that you feel are essential to your religious practice and, if
    so what are the textual or traditional grounds for these requirements and what do they
     require?   An   'J: l;l;Q-0+     ,~ <\)u1P\Q'Cc,I ~ Q.CC ihCoil<?               \.:\QJa,, (




4. Are you aware that the 0D0C non-meat alternative diet meets all Old Testament dietary
   law requirements?                          .                      ~                 ..             (
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5. As· part of your religious practice have you taken the non-meat alternative diet and, if not,
   why have you not done so as a way of meeting your religious needs?
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                                                                     Activate

              Select term(s) to navigate

         i91-143-0112, Religious Dietary Accommodations

         )) The department will satisfy the special religious dietary needs of inmates within the context of the
         =ood Services cyclical menu.

         )) Requests for inmate religious dietary needs that cannot be satisfied within the context of the Food
         ;ervices cyclical menu will be considered.

         :a) Inmate requests for special religious diets must be rooted in religious exercise.

         :b) The inmate must sign a religious diet participation agreem1::nt committing to adhere to the diet
         ·equested. Violation of the agreement may result in a re-examination of the inmate's commitment to the
         ·eligfous tradition in which the diet is observed. An inmate may submit a request for religious
         iccommodation as outlined in OAR 291-143-0115.                                 ·

         DOC 16-2017, adopt filed 11/01/2017, effective 11/1/2017)

         ;tatutory/Other Authority: 179.040, 423.020, 423.030 & 423.075

         ;tatutes/Other Implemented: 179.040, 423.020, 423.030 & 423.075


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                                    OREGON DEPARTMENT OF CORRECTIONS
                                        INMATE COMMUNICATION FORM

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              OREGON DEPARTMENT OF CORRECTIONS
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                 OREGON DEPARTMENT OF CORRECTIONS
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              OREGON DEPARTMENT OF CORRECTIONS
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                                   OREGON DEPARTMENT OF CORRECTIONS
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                              OREGON DEPARTMENT OF CORRECTIONS
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Inmate Committed Name (first middle last)                                           SID#                       Housing Unit
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        Case 3:23-cv-00556-MC          Document 1         Filed 04/14/23    Page 52 of 104   .   1




             OREGON DEPARTMENT OF CORRECTIONS
                INMATE COMMUNICATION FORM
                        .            ..-[6~<.   '
                             .       ,______
INSTITUTION:
INMATE NAME:   ~~'i ~::,.,._---s::::::,..__.._._~---+--


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                 Case 3:23-cv-00556-MC                Document 1    Filed 04/14/23   Page 53 of 104




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              Case 3:23-cv-00556-MC         Document 1       Filed 04/14/23     Page 54 of 104



                     regon                                      Oregon Department of Corrections
                                                                                       Religious Services
                                                                                       OSCI Residence 3
                                                                                   3405 Deer Park Dr. SE
               Kate Brown, Governor                                                    Salem, OR 97310


 September l, 2021

 Jama, Hamza#23052446
 Deer Ridge Correctional Institution
 3920 East Ashwood Road
 Madras, Oregon 97741

 Dear Mr. Jama,

 Your Religious Accommodation Request and Religious Diet request dated May 8, 2021 was received by
 our office on August 31, 2021 and have been read and reviewed. In your request, you ask for a Halal diet
 as a person of Muslim faith.

  In answer to question #2 on the Religious ,A.ccommodation Request you state that you were born Muslim
. and have been practicing your faith your whole life however, a review of your canteen purchases shows
  that you have recently purchased items that do not conform to a Halal di_et.

 In consultation with an Imam, the meat altemative tray (veggie tray) or self-select from mainline will
 meet the dietary needs for a Muslim AIC. The Department of Corrections currently supports the dietary .
 needs of its practicing Muslim men and women by making available a pork-free, meat alternative diet
 which includes fresh and cooked fruits and vegetables. T'nis diet, including the manner in which the food
 is prepared and served, was developed by the Department to ensure that it would meet the religious
 dietary needs of Muslim AICs. The food is prepared and served in a manner that avoids contamination by
 not coming into contact with pork or alcohol, through the use of properly cleaned and sanitized coolqng
 pots and pans, serving platters, bowls and dishes, cooking and serving utensils for each meal. The plates,
 bowls, cups, eating utensils and meal trays used by Muslim AICs to eat the food are also properly cleaned
 and sanitized for each meal. -

  The Imam also stated that Muslims do not eat _kosher as there are additions or cooking methods (including
. alcohol) that are not allowed for Muslims. He confirmed that the veggie tray with self-select from
  mainline is the best option for a Muslim.

 In addition to the pork-free meat alternative diet, the Eid al Adha feast is provided for Muslim AICs
 where we provide and serve Halal lamb. The Department has also made available pre-packaged Halal
 marked items for purchase through the facility commissary.

 Sincerely,




Daryl Borello
Administrator, Religious Services

 cc:    K. Ball, Chaplain
        File
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                            Case 3:23-cv-00556-MC                 Document 1    Filed 04/14/23        Page 55 of 104
                                        NON-EMERGENCY HEALTH CARE REQUEST
                                               ;>.30Sµd 4' 6   C7 lo '1 I3
         Name                                                    State ID#                     Housing                  Date

         Medications:                                  Vaccines
     ·□      I have not .received my prescription          □ Hepatitis   NB                       Other function . ·
  . -ti My·p-rescription is about to expire·-------        □ Flu ·---                             □ -BPcheck"    ....
         □   My prescription is not helping                □ Pneumonia                            □   Test result request
                                                           □ Shingles                             □ Is my appointment still scheduled?
         Glasses                                           □ HIV Test
         □ Eye exam for glasses                            □ Hepatitis CTest
                                                                                                _,..Qether issues - not sick:
         □ Repair


         Health Care .request. issue. concern. or sickness:
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         We have taken the following actions in response to your health service request:
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         ~ You will be scheduled to see: OProvider               ~rsing staff

         □ Y9ur_reques~ has ~een forwarded to: OManager   O0ptometry OSupport Services O BHS
                                     OPharmacy Technician OSee attached health education han·dout ..
__ .. _. Adcilt~onal.Comments: _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _.,....,,.__ _ _ _ _ _ _ __




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                                                                                                                 Official Use Only                 'Resubmit

                                                                      GRIEVANCE FORM
Name;Jc)')\C\                              ~-rzPt                         00                   ·2-3e>~'-Y"-I L
     Last                                  First                             Initial                   SID#                     Cell/Block/Bunk#

Whom are you grieving:·  01 R. Bo·rciLLD,, CbG.P}o Io BA II
 Please provide the date/time of incident giving rise to grievance: C'\ .. \ b-- 2.. i 4 &CJ S-:? 01

List in detail all the reasons for your grievance. (What is the problem? When did it happen - date/time/place?) Attach copies of any
documents or any material(s), which support your grievance, including the names of any persons you think should be questioned.

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Describe what action you want taken to resolve the grievance. (How can the problem be solved?)




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Date

             Receiving Facility                    Received at Processing Facility                Accepted/Denied/RFC                Accepted/Denied/RFC
        (If not processing facility)

                                                                                                   ACCEPTED
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For grievance information see back page. DistriJ,ution: White {Original grievance form); Canary {AIC receipt after processed)                   CD .117 (11/2019)
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                                                                        GRIEVANCE FORM
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             Last                             First                             Initial                  SID#                       Cell/Block/Bunk#

  Whom are you grieving:   MS\ Borell D I Cl,:c11,p\o,,o ~\ i
  Please provide the date/time of incident giving rise to griev~nce: CJ - j b-:2.1                              kf    ~1   Y.5prn
  List in detail all the reasons for your grievance. (What is the problem? When did it happen- date/time/place?) Attach copies of any
  documents or any material(s), which support your grievance, including the names of any persons you think should be questioned.

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  Describe what action you want taken to resolve the grievance. (How can the problem be solved?)

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  Date

               Receiving Facility                     Received at Processing Facility                Accepted/Denied/RFC                   Accepted/Denied/RFC
          {If not processing facility}
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                 Date Stamp                                    Date Stamp                                Date Stamp                            Date Stamp



  For grieva1?ce information see back pa'ge. Distripution: White (Original griE!vance form); Canary (AIC receipt after processed)                     CD 117 (11/2019)
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               Case 3:23-cv-00556-MC                Document 1     Filed 04/14/23     Page 58 of 104

                              OREGON DEPARTMENT OF CORRECTIONS
                                          AIC COMMUNICATION FORM

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State your issue in detail:

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 AIC Committed Name (first middle last)                                   SID#               Housing Unit

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 Date Answered: _ _ _ _ _ _ _ Signature of Staff Member:
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         Case 3:23-cv-00556-MC   Document 1       Filed 04/14/23   Page 59 of 104




                OREGON DEPARTMENT OF CORRECTIONS
                    AIC COlVIMUNICATION FORM
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                                    OREGON DEPARTMENT OF CORRECTIONS
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AIC Committed Name (first middle last)                                               SID#                                 Housing Unit

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 Date Answered: _ _ _ _ _ _ _ _ Signature of Staff Member:
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          Case 3:23-cv-00556-MC      Document 1       Filed 04/14/23     Page 61 of 104




                 OREGON DEPARTMENT OF CORRECTIONS
                     AIC COMl\fiJNICATION FORM
                           FlRQM-fv
. INSTITUTION:
   AJCNAME:      Tam~,   r+ran11.9
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                 Case 3:23-cv-00556-MC                Document 1   Filed 04/14/23         Page 62 of 104



                                                                                                           lo
Name                                                                              Housing                       Date


Medications,                               Vaccines
□ I have not received my prescription      □ H~patitis A/B                             Other Function
□ My prescription is about to expire       □ Flu                                       □ BP check
□ My prescription is not helping           □ Pneumonia                                 □ Test result request
                                           □ Shingles                                  □ Is my appointment still scheduled?
Glasses                                    □ J-IIVTest.
□ Eye exam for glasses                     □ Hepatitis CTest                        ___,06tl)_,f,!r issu;s - ~ot sick:   r\
□ Repair                                                                                    Co~Le.:t         n      Ot:

Health Care request, issue. concern. or sickness:
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We have taken the following actions in response to your health service request:

□ You will be scheduled to see: OProvider         ONursing staff

□ Your request has been forwarded to: OManager   O0ptometry OSupport Services O BHS
                             OPharmacyTechnician OSee attached health education handout
· Additional Comments: _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __




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                        •    Oregon Deparbnent of Corrections.
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                                             OREGON DEPARTMENT OF CORRECTIONS
                                                         AIC COMMUNICATION FORM

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         AIC Committed Name (first middle last)                                                  SID#                              Housing Unit
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        Case 3:23-cv-00556-MC      Document 1            Filed 04/14/23             Page 65 of 104




               OREGON DEPARTMENT OF CORRECTIONS
                   AIC COMJ\fUNICATION FORlVI
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                                      OREGON DEPARTMENT OF CORRECTIONS
                                                    AIC COMMUNICATION FORM



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  AIC Committed Name (first middle last)                                                           SID#                             Housing Unit

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  Response/Action Taken:

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        Case 3:23-cv-00556-MC     Document 1              Filed 04/14/23        Page 67 of 104




               OREGON DEPARTMENT OF CORRECTIONS
                   AIC COMMUNICATION FORM
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INSTITUTION:
AICNAME:
SID.#:
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...                 Case 3:23-cv-00556-MC                                   Document 1                      Filed 04/14/23             Page 68 of 104



                                            OREGON DEPARTMENT OF CORRECTIONS
                                                          INMATE COMMUNICATION FORM

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                       Case 3:23-cv-00556-MC      ,.   ,,,
                                                  Document 1       Filed 04/14/23             Page 69 of 104
                                  OREGON DEPARTMENT OF CORRECTIONS
                                            AIC COMMUNICATION FORM


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   AIC Committed Name (first middle last)                                   SID#                             Housing Unit
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    •If forwarded, please notify the AIC
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               OREGON DEPARTMENT OF CORRECTIONS
                     AIC COMMUNICATION FORM
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INSTITUTION:
AICNAME:
SID#:
UNIT/BUNK:
ADDRESS:




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                                   OREGON DEPARTMENT OF CORRECTIONS
                                             AIC COMMUNICATION FORM

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 AIC Committed Name (first middle last)                                                                         Housing Unit
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 Response/Action Taken:

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  'If forwarded, please notify the AIC
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        Case 3:23-cv-00556-MC   Document 1       Filed 04/14/23        Page 72 of 104
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               OREGON DEPARTMENT OF CORRECTIONS
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AICNAME:
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                              Case 3:23-cv-00556-MC                       Document 1            Filed 04/14/23          Page 73 of 104
                                                                   GRIEVANCE RESPONSE FORM



       TO BE FILLED OUT BY STAFF                                                                      Grievance #: DRCM 2021 10 015

       TO:          Hamza Jama                                           23052446
                    Name of grievant                                                  SID#

        FROM: K. Ball                                       Chaplain
              Name of respondent                                                     Title                                                                    . j


     List, In detail, action(s) taken. (What action was taken? Was the action what the AIC requested? If not, why? Who took
     the action? When was the action taken - date/time?)

    Dear Mr. Jama,

    Although you included my name in your Greivance DRCM_2021_10_015, I did not write the Religious
    Accommodation response letter you received concerning your request for a Halal /Kosher diet. This came from
    the Religious Services central administration.

    The Oregon Department of Corrections currently supports the dietary needs of its practicing Muslim men and
    women ·by making available a pork-free, meat alternative diet which includes fresh and cooked fruits and
    vegetables. This diet, including the manner in which the food is prepared and served, was developed by the
    Department to ensure that it would meet the religious dietary needs of Muslim inmates. The food is prepared
    and served in a manner that avoids contamination by avoiding contact with pork or alcohol, through the use of
    properly cleaned and sanitized cooking pots and pans, serving platters, bowls and dishes, cooking and serving
    utensils for each meal.

    Thank you for using the administrative process to address our concerns.

    Chaplain Ball




                                                                       Do not type past this line

    10/29/2021
    Date:

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                                         RECEIVED                                   SENT               Signature of Supervisor (Print/Sign)

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               Case 3:23-cv-00556-MC                  Document 1          Filed 04/14/23       Page 74 of 104

                                OREGON DEPARTMENT OF CORRECTIONS
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 AIC Committed Name (first middle last)                                          SID#                         Housing Unit
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 Response/Action Taken:               1 J,,a,u-e. ({!,,C,-e.\ve..J C.M-kuv1..a:firn,t, fu{M.., '--fit& S??ffli,,,
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          Case 3:23-cv-00556-MC     Document 1        Filed 04/14/23   Page 75 of 104

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                 OREGON DEPARTMENT OF CORRECTIONS
                     AIC C01\1MUNICATION FORM
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· INSTITUTION:
  AICNAME:        .Jat1'.1e,,   HannA                      . E-IL/3
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                           Case 3:23-cv-00556-MC                        Document 1               Filed 04/14/23             Page 76 of 104

                                                 OREGON DEPARTMENT OF CORRECTIONS
                                                        MISCONDUCT REPORT
                                                                                           CASE# _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __

  Name: Jama, Hamza                                               SID# 23052446              Housing: G111A.               Assignment: N/A
                                                                                                                                      -------
            (Last              First,             Ml)

  ODOC Facility: DRCM                                   Location of Violation:     Dining Hall Date: 11/11/21              Time: 5:45PM
                           -------
                                                        Charge(s) SELECT THE APPROPRIATE RULES(S)
   2.15     Extortion I              (Major)                                             Select One

    Rule#           Title of Ru le                                                       Rule#        Title of Rule

   2.10     Disrespect I              (Major)                                           Select One

    Rule#       Title ofRule                                                             Rule#        Title of Rule

   4.01     Disobedience of an Order I                  (Major)                          Select One

    Rule#       Title of Rule                                                            Rule#        Title of Rule


  Description of Violation (Explain how you discovered/learned the facts and who, what when, where, and how. Use continuation sheet if needed.):

  On 11/11/2021, at approximately 5:45PM, I was assigned as the AB unit Support Officer. At this time, I was in the dining hall
  monitoring the dinner service when I noticed AIC Jama, Hamza SID #23052446 standing in line to drop off his meal tray at the
  scullery. I observed AIC Jama throw the whole tray and it's contents including his cup, in the trash bin. I went over to the trash bin
  and confirmed his meal tray was in the trash and had a kitchen worker retrieve the items from the trash bin. AIC Jama was near the
  exit of the dining hall when I stopped him and asked why he threw his meal tray in the trash. AIC Jama responded by saying "I was
  mad that I was just served·pork". I then told AIC Jama that there were multiple signs on the dinner line that say there is pork in the
  meal. AIC Jama told me that it was against his religion to eat pork. I asked AIC Jama for his ID card (which he pulled out of his
  pocket instead of on his lanyard around his neck) and he responded by disrespectfully saying "I am going to grieve you if you cell
  me in". I reached for his ID card and told him "you gotta do what you gotta do" and "now you're celled in." AIC Hamza gave me his
  ID card and then left back to his housing unit. There was approximately 100 AIC's in the dining hall during this interaction. Upon
  further review, AIC Jama was placed in disciplinary s_egregation unit (DSU).




•isposition of Physical Evidence:                       N/A
:aff Witnesses:             N/A
                                                        -------------------,,..----------------
nmediate Action Taken:                         Placed in DSU
                                                                                                                      Time: 6:57PM                 Date:      11/11/21
                                                                                                   Title
eviewing Supervisor:                                                                             Lieutenant           Time: 7:25 PM                Date:      11/11/21
                                                                                                   Title

                          ************************PLACED IN HOLDING STATUS************************
 s Officer-in-Charge, I have reviewed the foregoing Misconduct Report and find that the rule violation(s) is/are of such a serious
ature that the good order and security of the facility r e q u i ~ · e removal of the inmate and placement in segregation
·atus because: Experience and practice has shown that Cs direeffy involved in prohibited conduct and activity, creates a threat to the
                safety, security and orderly operation       · 1ty.
                                                                                            Lieutenant                Time: 7:30 PM                Date: ·1 ·11 ·1 ·1 / ,-6
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rehearing Segregation . Approved:                                               Release Ordered:
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                                                                                              Signature           Title   Time/Date
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                      Case 3:23-cv-00556-MC                                       Document 1                      Filed 04/14/23                      Page 77 of 104

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                                                                   Oregon Department of Corrections
                                                                            Disciplinary Hearing
                                                     Finding of Fact, Conclusion, and Order
     Offender Name:                       Jama, Hamza                                                          Case#:                                      2111 DRCM 0026 DRCM
                                                                                                                                                           17
     SID:                                23052446                                                              Date(s) of Hearing:                         11/22/2021
   Rules Charged                                                                                                 Plea
        2.15 - Extortion I                                                                                       None
        2.1 O - Disrespect I                                                                                     None
       4.01 - Disobedience of an Order I                                                                         None

   Procedural Points
                Documentation provided at the hearing Indicated that the Adult In Custody (AIC) had bean given a copy of the
                Misconduct Report, Notice of Hearing/ Rights and the Rules of Prohibited Conduct.

                A desk audit of this misconduct report was conducted by the hearings officer on November 22, 2021.
  Finding of Fact



  Ultimate Findings of Fact and Conclusfons
                 Rule 2.15, Extortion I: Rule 2.10, Disrespect I; and Rule 4.01, Disobedience of an Order I; are dismissed due to
                 insufficient evidence. An AIC has the right to grievance.

  Preliminary Order



  Rule                          Charge
  Extortion I                   Dismissed


  Disrespect I                  Dismissed




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                       Case 3:23-cv-00556-MC                                       Document 1                      Filed 04/14/23                       Page 78 of 104



                                                                   Oregon Department of Corrections
                                                             Disciplinary Hearing
                                                     Finding of Fact, Conclusion, and Order
    Offender Name:                       Jama, Hamza                                                           Case#:                                      2111 DRCM 0026 DRCM
                                                                                                                                                           17
    SID:                                 23052446                                                              Date(s) of Hearing:                         11/22/2021
   Rule                          Charge
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                  Case 3:23-cv-00556-MC                   Document 1          Filed 04/14/23       Page 79 of 104
                                  OREGON DEPARTMENT OF CORRECTIONS                 .
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                          OREGON DEPARTMENT OF CORRECTIONS
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                              OREGON DEPARTMENT OF CORRECTIONS
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                         OREGON DEPARTMENT OF CORRECTIONS
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 List in detail all the reasons you disagree with the original grievance response or initial appeal response. (For the initial appeal,
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 Describe what action you want taken to resolve the grievance appeal if different from original grievance submission.




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 For grievance information see back page. Distribution: Green (Original grievance form); Goldenrod (Inmate receipt after processed)                    CD 117C (10/2019)
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List in detail all the reasons you disagree with the original grievance response or initial appeal response. (For the initial appeal,
attach original grievance form and staff response. For the final appeal, attach the initial appeal form and response as well as the
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Describe what action you want taken to resolve the grievance appeal if different from original grievance submission.




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List in detail all the reasons you disagree with the original grievance response or initial appeal response. (For the initial appeal,
attach original grievance form and staff response. For the final appeal, attach the initial appeal form and response as well as the
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                    regon                                            Oregon Department of Corrections
                                                                                              Religious Services
                                                                                               OSCI Residence 3
                                                                                           3405 Deer Park Dr. SE
              Kate Brown, Governor                                                              Salem, OR 97310
                                                                                            Phone: 503-378-2534
                                                                                              Fax: 503-378-2648

December 10, 2021



AIC Hamaz, Jama, SID #23052446
Deer Ridge Correctional Institution
3920 East Ashwood
Madras, OR 97741



Dear AIC Jama,

This letter is in response to your Initial Grievance Appeal, #DRCM_2021_10_015A, in which you disagree
with Chaplain Ball's response concerning your request for a kosher or halal diet.

I have reviewed your appeal, as well as all prior documentation relating to this grievance. In your
grievance, you claim you are not a vegetarian and are being denied halal food. According to the DOC
Dietitian, on the current menu pork entree can be served two times per week. There are twenty-one
(21) meals per week. You may self- select from the mainline meals which include chicken, fish, etc.
According to our Imam volunteer, chicken and fish are naturally or processed halal. A review of your
recent canteen purchases shows you routinely order non-halal beef products so you may also select the
beef entrees. In consulta~ion with an Imam, the meatalternative tray (veggie tray) or s~lf-select from
mainline wilrmeet the dietary needs fora Muslim AIC.

You claim the cc:ioking, serving, and eating wares are contaminated by pork. The food is prepared and
served in a man_ner that avoids contamination by not coming into contact with pork or alcohol, through
the use of properly cleaned and sanitized cooking pots and pans, serving platters, bowls and dishes,
cooking and serving utensils for each meal. The plates, bowls, cups, eating utensils and meal trays to eat
the food are also properly cleaned and sanitized for each meal.

You have not provided any additional information in this appeal that would warrant a response-other
than that which you have already received.

Thank you for addressing your concerns appropriately.

Sincerely,


  ~rou
 ~M?r
Stuart Young
Assistant Administrator



cc:     J. Ybarra, Grievance Coordinator
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                    Case 3:23-cv-00556-MC              Document 1        Filed 04/14/23          Page 89 of 104

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               OREGON DEPARTMENT OF CORRECTIONS
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List in detail all the reasons you disagree with the original grievance response or initial appeal response. (For the initial appeal,
attach original grievance form and staff response. For the final appeal, attach the initial appeal form and response as well as the
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Describe what action you want taken to resolve the grievance appeal if different from original grievance submission.




Date

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                                                               GRIEVANCE APPEAL FORM

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 List in detail all the reasons you disagree with the original grievance response or initial appeal response. (For the initial appeal,
attach original grievance form and staff response. For the final appeal, attach the initial appeal form and response as well as the
original grievance and response.)

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 For grievance information see back page. Distribution: Green (Original grievance form); Goldenrod (Inmate receipt after processed)                     CD 117C (10/2019)
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                                  Oregon Department of Corrections (ODOC)
                                                                DRCI f\mnimum
                                                       Discrimination Complaint - Denied
              To: Jama, Hamza                                                                  SID #:         23052446                                 Cell: DRCM:D215A
         From:          Ybarra, J                                                              Date:          01/25/2022


              Re:        Discrimination# DRCM_2022_01_051


The discrimination complaint you submitted is being returned to you due to non-compliance with the
Department of Corrections (DOC) Rule #006 (Discrimination Complaints) for the following reason(s):

A discrimination complaint must include a complete description of the incident, action, or application
of rule that directly impacted the submitting AIC and how the AIC believes it has subjected them to
discrimination on the basis of race, color, national origin, religion, gender, sex, sexual orientation,
marital status, age, disability, or familial status. Your complaint lacks information to support your
claim



If you have any questions regarding your discrimination complaint, please refer to the Department of
Corrections Administrative Rule "Discrimination Complaints" tab #006 located in the legal library or
kyte your institution Discrimination Complaint Coordinator.




Page 1 of 1
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the contents confidential, and promptly destroy the Information and/or delete the document Information from your computer system.
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              Last                         First                                               Initial           SID#                     Cell/Block/Bunk#

    Please provide the date, time, and location of incident giving rise to your complaint:                              C,) / I   f5 }202,.:2, @ t.f ~ HO -prO
    Person(s)lnvolved:          \<4. Bex\) (p,IO\Plonn) '----------~-----------
    Witnesses:    I)n121} &rel 10                                               , Sbxxr-\ fc,v,:<1§
    Describe your complaint in detail, including a description of the time, place, and location of the incident or issue your com plaint
•   concerns. Include copies of any relevant documents or materials that support your complaint, along with the names of any persons
    you think should be questioned.

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    Describe what action you want taken to resolve your complaint. (How can the problem be solved?)




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      Oregon
        Kate Brown, Governor
                                                                                Department of Correctic_
                                                                                             Operations Divisfo,
                                                                                            2575 Center Street Ni
                                                                                           Salem, OR 97301-4667
                                                                                             Voice: 503-945-0950
                                                                                               Fax: 503-945-7178


March 3, 2022



AIC Ha9-1za Jama, SID #23052446
Deer Ridge Correctional Institution
3920 East Ashwood Rd
Madras, OR 97741



Dear AIC Jama,

This letter is in response to your Final Grievance Appeal, #DRCM_2021-10-015AA, in which you Disagree
with Mr. S. Young's response concerning your request for a kosher meal or halal diet.

I have reviewed your appeal, and I concur with the response you received from Mr. Young. DOC
currently offers a meat alternative option, a self-select mainline option and our volunteer Imam has
reviewed our food options that are acceptable under a halal diet and is satisfied that option is available
to Al Cs also. There are also several options available through the commissary that meet the diet
standards you are seeking. Regarding the _preparation of DOC kosher meals, this process is inspected
and reviewed periodically and according to local and statewide religious leaders, DOCs process of
preparing kosher food meets kosher cultural and religious standards. Please refer to Mr. Young's
response on more about that. You have not provided any additional information in this appeal that
would warrant a response other than that which you have already received.

Thank you for addressing your concerns appropriately. This concludes the grievance review process for
this matter.                             ·

Sincerely,




Daryl Borello
Religious Services Administrator



cc:     K. Raths, Asst. Director of Correctional Services
        K. Ball, DRCM Chaplain
        DRCM Grievance Coordinator
        Fife
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                                  Oregon Department of Corrections (ODOC)
                                                                           DRCI Minimum
                                                                          Grievance - Denied
             To:        Jama, Hamza                                                           SID #:          23052446                                Cell: DRCM:D215A
        From: Ybarra, J                                                                        Date:          03/21/2022


              Re:       Non-Medical# DRCM_2022_03_031


The grievance you submitted is being returned to you due to non-compliance with the Department of
Corrections (DOC) Rule #109 (Grievance Review System) for the following reason(s):

Your grievance has not demonstrated how it qualifies under 291-109-0210. You have not
demonstrated misapplication of departmental policies, rules, or other directives, unprofessional
actions of department employees, volunteers, or contractors, inadequate medical or mental health
tr~atment, sexual abuse or sexual harassment or excessive use of force by department employees.

If you have any questions regarding your grievance, please refer to the Department of Corrections
Administrative Rule "Grievance Review System" tab #109 located in the legal library or kyte your
institution Grievance/Discrimination Complaint Coordinator.




Page 1 of 1
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List in detail all the reasons for your grievance. (What is the problem? When did it happen - date/time/place?) Attach copies of any
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Describe what action you want taken to resolve the grievance. (How can the problem be solved?)




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                ,~-~·•" ; Dregon                          Department of Administrative Services
                                                                          Enterprise Goods & Services
                     Kate Brown, Governor                                            Risk Management
                                                                                        PO Box 12009
                                                                              Salem, OR 97309-0009
                                                                            Telephone: 503-373-7475
March 22, 2022                                                                      Fax: 503-373-7337

HAMZA JAMA, SID #23052446
DRCI
3920 E ASHWOOD RD
MADRAS, OREGON 97741




Claim Number:                    L18169001
Date of Loss:                    9/16/2021
Re:                              Aclmowledgement

Dear Hamza Jama,

We have received your notice of claim. It has been referred to this unit for handling.

We are currently conducting a review through the Oregon Department Of Corrections (ODOC).
We will contact you when it is completed.

You will not hear from us again until the review is complete.

Respectfully,

Custody Claims Unit
       Case 3:23-cv-00556-MC               Document 1   Filed 04/14/23      Page 101 of 104



    - Dregon                                            Department of Administrative Services

~
                                                                          Enterprise Goods & Services
•             Kate Brown, Governor                                                   Risk Management
                                                                                        PO Box 12009
                                                                              Salem, OR 97309-0009
                                                                             Telephone: 503-373-7475
May 3, 2022                                                                        Fax: 503-373-7337


HAMZA JAMA I SID# 23052446
DRCI
3920 E ASHWOOD RD
MADRAS OREGON 97741




Claimant:                            Hamza Jama
Claim Number:                        L18169001
Date of Loss:                        9/16/2021
Re:                                  Denial

Dear Hamza Jama,

We have reviewed your tort claim against the Oregon Department of Corrections (ODOC) with
management level staff from ODOC Religious Services.

Based on the records reviewed, we do not find negligence on the part of the State of
Oregon/Oregon Department of Corrections, its officers, agents, or employees and we must
respectfully deny your claim against ODOC Religious Services and their staff.

With this notice of denial this ends the review process through our office and we will be closing
our file.

Respectfully,

Custody Claims Unit
                             Case 3:23-cv-00556-MC                                 Document 1                    Filed 04/14/23                    Page 102 of 104

                                    Oregon Department of Corrections (ODOC)
                                                                             DRCI Minimum
                                                                            Grievance - Denied
                 Jama, Hamza
                To:                                                                             SID #:          23052446                                Cell: DRCM:G108B
           From: Ybarra, J                                                                       Date:          02/22/2023

                Re:       Medical# DRCM_2023_02_033


· The grievance you submitted is being returned to you due to non-compliance with the Department of
  Corrections (DOC) Rule #109 (Grievance Review System) for the following reason(s):

  Your grievance has not demonstrated how it qualifies under 291-109-0210. You have not
  demonstrated misapplication of departmental policies, rules, or other directives, unprofessional
  actions of department employees, volunteers, or contractors, inadequate medical or mental health
  treatment, sexual abuse or sexual harassment or excessive use of force by department employees.

  If you have any questions regarding your grievance, please refer to the Department of Corrections
  Administrative Rule "Grievance Review System" tab #109 located in the legal library or kyte your
  institution Grievance/Discrimination Complaint Coordinator.




  Page 1 of 1
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    Please provide the date/time of incident giving rise to grievance:                                    ?.. / t a/2.S:.>1..."3:>
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    documents or any material(s}, which support your grievance, including the names of any persons you think should be questioned.

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    Describe what action you want taken to resolve the grievance. (How can the problem be solved?}




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    Date

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                (If not processing facility)

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                                                                     GRIEVANCE FORM
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            Last                          First                             Initial                   SID#                                 Cell/Block/Bunk#

Whom are you grieving:             The. B:h<e.        QRC.:t·_ \"\'\emC'c'>.\          rt12,·v9,.--r~-<.fld::-

Please provide the date/time of incident giving rise to grievance:                    "1.. / l 'a' {w -z_.?:,
List in detail all the reasons for your grievance. (What is the problem? When did it happen - date/time/place?) Attach copies of any
documents or any material(s), which SURPOrt your grievance, including the names of any persons you think should be questioned.

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Describe what action you want taken to resolve the grievance. (How can the problem be solved?)

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              Receiving Facility                  Received at Processing Facility               Accepted/Denied/RFC                                Accepted/Denied/RFC
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